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     Attorneys for Plaintiff
9
10                                    UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12                                            OAKLAND DIVISION
13
     UNITED STATES OF AMERICA,                        )       No. CR 05-00524 MJJ
14                                                    )
                 Plaintiff,                           )
15                                                    )       STIPULATION TO CONTINUE
            v.                                        )       SENTENCING HEARING; [PROPOSED]
16                                                    )       ORDER
     STEPHANIE DAVIS,                                 )
17                                                    )
                 Defendants.                          )
18                                                    )
                                                      )
19
20               Plaintiff, the United States of America, by and through its undersigned counsel, and
21   defendant Stephanie Davis, by and through her respective undersigned counsel, hereby requests
22   and stipulate that the sentencing of defendant Davis currently scheduled for August 25, 2006 at
23   2:30 pm., be continued to September 8, 2006 at 2:30 p.m.
24               The reason for this continuance is that counsel for the government is unavailable on
25   August 25, 2006.
26   ////
27   ////
28   ////


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1    IT IS SO STIPULATED.
2    DATED: August 22, 2006                                         Respectfully submitted,
3                                                                   KEVIN V. RYAN
                                                                    United States Attorney
4
5                                                                   By /s/
                                                                    W. DOUGLAS SPRAGUE
6                                                                   Assistant U.S. Attorney
7
8
     DATED: August 22, 2006                                              /s/
9                                                                   F. JOSEPH McGREW
                              ISTRIC                                Attorney for Defendant
10                       TES D      TC                              Stephanie Davis
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14                                                  s
                                           J. Jenkin
             NO




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                           Judge M
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